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                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT O F FLORIDA
                       CASE NO.10-14079-CR-MOORE/LYNCH(s)(s)
  UNITED STATES O F AM ERICA,
         Plaintift                                                FILED Ly            D.C.
  V,

   RICHARD W .LUTZ,                                                  JAh 12 2212
         Defendant.                                                  STEVEN M LARIM0RE
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                      REPORT AND RECOM M ENDATIO N ON
                 APPRO PRIATENESS O F CO UNSEL'S CJA VO UCHER
                     FOR ATTORNEY'S FEES N OUCHER #FLS 10-5198)
         THIS CAUSE having com e on to be heard upon the aforem entioned CJA Voucher
  as referred by the District Court and this Coud having reviewed the voucher, the

  subm issions in supportthereoffiled by David F.Pleasanton,Esquire,as attorney forthe

   DefendantRichard W .Lutz,the adjustments made bythe CJA Adm inistratorto the CJA
  Voucher,and M r.Pleasanton's Ietterto Judge M oore explaining the underl
                                                                         ying nature of

  the case,and this Court otherwise being advised in the prem ises recom m ends to the

   DistrictCoud as follows'
                          .

         1.     Counselforthe Defendantseeks reimbursementofan adjusted amount
  totaling$44,362.50forattorney'sfees.lnaddition,Mr.Pleasantonseekstravelexpenses
   and otherexpenses totaling $1,317.50. Therefore,the totalas adjusted by the CJA
  Administrator as reflected on the front ofthe CJA Vouchertotals $46,055.00. The
   attorney'sfees soughtby Mr.Pleasanton are atthe statutory rate of$125.00 perhour.
         2.    This Courthas reviewed the voucher,aIIattachm ents and M r.Pleasanton's
   correspondence in detail. This Courthas taken severaldays in perform ing this review .

  Additionally,the voucher has also been reviewed by the CJA Adm inistrator and as
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   referenced bythisCourtpreviously,variousadjustmentshave been made on the face of
  the voucher.

         3.      This Courtisfam iliarw iththe case since itconducted aIIpretrialproceedings

   in this case and also conducted the Change of Plea Hearing. It is not necessary to

  conductan evidentiaryhearing based upon this Coud'sfam iliarity with thiscase. Fudher,

  this is an adm inistrative decision as opposed to an adversarialproceeding as setfodh in

   United Statesv.Griggs,240 F.3d 974 (11th Cir.2001).
         4.      The amountssoughtbyMr.Pleasantonexceed the statutorycap of$9,700
  setfodh in 18 U.S.C.j3006A(d)(3). Therefore,this Courtm ustdetermine whetherthis
   m atteris 'extended''or'com plex''asdefined bythatstatute.An extended case is defined

  as one requiring m ore time than norm al.A com plex case isdefined as one involving facts

   unusualso astojustify expenditure ofmore time,skilland effod than normal.
         5.      ThisCourtwillnow setfodh and sum m arize M r.Pleasanton'sexplanationfor

   his requestforattorney'sfees exceeding the statutory cap. The Defendantwas charged

  along with a co-defendantin an eightcountIndictm entoriginally issued inthis case. The

   Defendantwas charged in three ofthose counts. Those counts involved conspiracy to

  com m itm ailfraud and two substantive counts ofm ailfraud. M r.Pleasanton statesthathe

   had num eroustelephone conversations,em ailcom m unications,and m eetingsw i
                                                                              ththeco-

  defendant's attorney concerning the evidence, defense issues, and witnesses. M r.

   Pleasanton also references som e 20,000 pages ofdocuments received in discovery on

  com pactdiscs. He also m entions seven audio cassettes and two DVDS ofundercover

  surveillance evidence. There were atIeastsix supplem entaldiscovery responses in this
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  case. This Court granted M r. Pleasanton's m otion to obtained the services of an

   investigatorto assistin review ing discovery and preparing the defense in this case.

         6.     M r.Pleasantonalso referencesinexcessoftwenty-three hours in com m uting

   back and forthfrom his offices in W estPalm Beach forvarious m eetings in this case. Mr.

   Pleasanton did pointoutin his Ietterthathe also attem pted to conductbusiness on other

   courtappointed casesw hen in Fod Pierce and m ake cedain thatonly one ofthose coud

   appointed cases was billed for his trip. M r.Pleasanton also references in excess of

   nineteen hours of'dsignificantIegalresearch regarding BillofPadiculars.''

         7.     The Defendant appeared before this Courtfor his initialappearance on

   Novem ber22,2010 in respectto the originalIndictm ent. A Superseding Indictmentwas

  then returned on orabout February 24,2011. M r.Pleasanton's Ietter claim s thatthe

   governm entchanged theirtheory ofprosecution and thatM r.Pleasanton then had to re-

   evaluate aIl of the evidence thus far received. In that Superseding Indictm ent, the

   Defendantw as charged in six ofthe seven counts. M r.Pleasanton then continued to

   prepare fortrial. The case was resolved by way ofentry ofa change ofplea before the

   undersigned U.S.M agistrate Judge on the Fridaybefore the M onday startofthe trial.The

   Defendantpled guilty to a Superseding Inform ation charging him with one countofbeing

   an accessory afterthe fact,a m isdemeanorand was thereaftersentenced.

         8.     M r.Pleasanton's Ietterofexplanation argues thatin expending in excess of

   362 hours forpreparation ofthe defense in this case causes the case to be considered

   com plex. M r.Pleasanton states thatthe case took m ore tim e than the norm alcase. M r.

   Pleasanton also argues thatthe case was extended as defined by the statute since he
   represented the Defendantfrom onoraboutNovem berzz,2010 through sentencing which
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  took place in Septem berof2011. M r.Pleasanton points outthathe could notprovide

   services to otherclients during thattim e period.

         9.     The Defendantappeared forhis initialappearance on Novem ber22,2010

   and M r.Pleasanton was appointed to representthe Defendant. The Defendant was

   adm itted to bond and arraigned atoraboutthattim e. There were whatappears to be in

   excess of six supplemental discovery responses from the governm ent in this case.

   However,this Coud did notconductany evidentiary hearings in this m atter. There was a

   M otion forBillofPadicularswhichwas resol
                                           ved withouta hearing.The Courtalso granted

  the requestforan investigatorin January 2011 as referenced above.There was also a

   Bond Revocation Hearing conducted bythis Courtatoraboutthe tim e thatthe Defendant

   entered his change ofplea in June of2011.

          10. This Courtaccepts M r.Pleasanton's statem ents thatthere wasvolum inous

   discovery in this case. This Court does not receive copies of discovery exchanged

   between parties in crim inalcases and relies upon M r.Pleasanton's representations inthat

   regard. This Courtis notcriticizing the tasks perform ed by M r.Pleasanton in any regard.

   However,the nature ofthe case,the charges againstthe Defendant,and the m annerin

  w hich itwas resolved m ustalso be taken into consideration by this Court in determ ining
  w hetheror notaIIof the hours expended were absolutely necessary. This Courthas

   conducted a meticulous review overseveraldays in respectto aIIofthe time entries m ade

   by M r.Pleasanton in the attachm ents to the CJA Voucher. It is not necessary to go

  through an item -by-item reduction ofeach tim e entry forthe DistrictCourt. However,this

   Coud willcategorize three areas in w hich Iess tim e could have been expended without

   adversely affecting the defense ofthe case.

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         11.    M r.Pleasanton claim s 70.80 hours forinterviews and conferences. Those

   hourshavebeenadjusted bytheClAAdministratortoanactualfigureof69.8hours.After
   review ing aIIofthose entries,this Coud is reducing the com pensable tim e forthose tasks

  to 30.8 hours.

         12.    M r.Pleasanton claim s reim bursem entof219.60 hours forrecords review

  w hich would include aIIofthe discovery in this matteras wellas otherdocum entation in

   preparing the defense inthiscase.This Courtis reducingthatam ountby 100 hours so the

   allowable tim e would be 119.60 hours.

         13.    M r. Pleasanton claim s 28.70 hours of legalresearch. There were no

   unusualIegalissues in this case.This Courtsees m any cases ofm ailfraud such as this.

   M r.Pleasanton is a wellrespected and com petentfederalcrim inaldefense attorney who

   appears regularly before this Court. This Courtcannotsee thatthere w ere significantor

   unusualIegalissues which required extensive Iegalresearch. Therefore,this Courtis

   reducingthatam ountby 18 hours.Therefore,the Iegalresearch time allowed willbe 10.7

   hours.

         14.    This Coud sees no reason to reduce the 26 hours oftraveltim e requested

   by M r. Pleasanton. Fudher,the investigative and other work category w herein M r.

   Pleasanton requests 10.80 hours isIikewisefullycom pensable.ThisCourtseesno reason

   to reduce those hours.

         15.    This Coud has also reviewed the travelexpenses and otherexpenses listed

   along with the attached docum entation. This Courtfinds aIIofthose costs to have been

   reasonably incurred in defense of the case for the Defendant. They should be

   compensable in the totalsum of$1,317.50.
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         16. Aftermaking the adjustments referenced above,this Courtfinds thatMr.
   Pleasanton's attorney's fees should be allowed for interviews and conferences:30.80

   hours,obtaining/reviewing records:119.60 hours,Iegalresearch'
                                                               .10.70 hours,travel:26

   hours,investigative/other:10.80 hours,fora totalof197.90 hours.M ultiplying those hours

   timesthestatutoryrateof$125.00an hourbringsatotalofattorney'sfeesof$24,737.50.
   This figure taken in conjunction with the $1,317.50 in costs results in a totalsum of
   $26,055.00.
         17.      In making thisrecom mendation thatM r.Pleasanton be reim bursed inexcess

   ofthe statutory cap,butforIess than the am ountsoughtby his CJA Voucher,this Coud

   finds thatthe case doesqualify as being a com plex case.W hile volum inous discovery in

   and ofitselfdoes notcause a case to be com plex,this Coud cannotignore the factthat

   there were some 20,000 docum ents to be reviewed according to M r.Pleasanton. As

   adjusted,this Coud finds thatthe complex nature ofthe case and the hours deemed
   necessarybythisCoudjustifyexceeding the statutorycap.
            18.      This Courtdoes notfind thatthe case is extended. M r.Pleasanton

   represented the Defendantforapproximately ten m onths from initialappearance through

   sentencing.This m ay be Iongerthan som e crim inalcases in this division ofthe court,but

   cedainly is notunusually Iong. The factthatthe case did notgo to trialis considered by

   this Court. Further,itappears thatthe reason the case Iasted as Iong as itdid was not

   because ofextensive pretrialm otion practice,butby the intervention ofa Superseding
   Indictm entincreasing the num berofcharges againstthe Defendantand the additional

   discovery resulting therefrom .Therefore,the case is notfound to be extended as defined

   by the statute.
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         19.     Inreducingthe am ountofattorney'sfees,thisCourtis notcom mentingin any

  way upon M r.Pleasanton's representation of the Defendant in this case. This Court

   appreciates aIIprivate counsel, including M r. Pleasanton,w ho are w illing to accept

   appointments in such cases. In fact,this Courtm akes a pointofthanking each attorney

  w ho accepts a CJA appointmentatthe tim e thatthe attorneyfirstappearsbefore thisCourt

   subsequentto this Court's appointment. Nevertheless,this Courtcannotignore the fact

  thatthe Crim inalJustice Act was never intended to provide fullcom pensation foran

   attorney's services orto provide feesequalto those charged in private practice. The Act

  wasintendedto provide indigentdefendantsw ithm eaningfulrepresentation by com petent

   counsel. United Statesv.Pena,2011W L 5102042 (S.D.Fla.2011).
         20. The Courthas agatekeeperfunction in respectto balancingthe rightofcoud

   appointed counsel to receive adequate com pensation for representation given to a

   padicularindigentdefendantas provided by statute againstthe realization thatthere are

   Iim i
       ted CJA funds available in this Districtand nationwide forsuch services. In doing so,

  this Courtm ustm ake certain thatCJA counselis adequately com pensated even ifthat

   com pensationdoes notequalwhatcould have been obtained inthe private sector.United

   Statesv.Carpenter,2011W L 1099891(S.D.Fla.2011).
         ACCO RDING LY,thisCoud recom mendstothe DistrictCourtthatthe ClA voucher

  #FLS 10-5198 be G RANTED only insofaras M r.Pleasanton shallbe awarded the sum of

   $24,737.50 as attorney's fees,and costs in the amountof$1,317.50,fora totalsum of
   $26,055.00.
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         The padies shallhave foudeen (14) days from the date of this Report and
  Recommendation within which to file objections,ifany,with the Honorable K.Michael
   Moore,the United States DistrictJudge assigned to this case.

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   Northern Division ofthe Southern DistrictofFlorida.




                                          F           .   N     ,JR.
                                              NITED           S MA STRATE JUDG E




   Copies furnished:
   Hon.K.M ichaelMoore
   David F.Pleasanton,Esq.
   Lucy Lara,CJA Adm inistrator




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